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       In The United States Court of Federal Claims
                                            No. 05-400C

                                       (Filed: March 6, 2009)
                                             __________
 MICHAEL W. STOVALL,                             *
                                                 *
                         Plaintiff,              *
                                                 *
         v.                                      *
                                                 *
 THE UNITED STATES,                              *
                                                 *
                         Defendant.              *
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                                             _________

                                             ORDER
                                            __________

         On February 20, 2009, this court granted, in part, and denied, in part, plaintiff’s motion to
compel the production of documents responsive to one of its requests for production. At that
time, it ordered defendant to file certain documents on or before March 6, 2009. On March 5,
2009, defendant filed a motion seeking reconsideration of that order. Although the latter motion
does not seek a stay of the production – as, in the court’s view, it would have been proper to seek
– the court, nonetheless, hereby STAYS its order requiring the production of the documents
covered by defendant’s reconsideration motion, until further order. The court will advise
plaintiff if it deems a response to defendant’s motion necessary.

       IT IS SO ORDERED.



                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
